Filed 8/22/24 P. v. Marquez CA4/1
                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS
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                COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                                 DIVISION ONE

                                         STATE OF CALIFORNIA



THE PEOPLE,                                                          D083392

         Plaintiff and Respondent,

         v.                                                          (Super. Ct. No. SCN304918)

ISSAC GOMEZ MARQUEZ,

         Defendant and Appellant.


         APPEAL from an order of the Superior Court of San Diego County, Lisa
R. Rodriguez, Judge. Reversed and remanded with instructions.
         Richard Jay Moller, under appointment by the Court of Appeal, for
Defendant and Appellant.
         Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant
Attorney General, Charles C. Ragland, Assistant Attorney General, Collette
C. Cavalier, Kathryn Kirschbaum and Nora S. Weyl, Deputy Attorneys
General, for Plaintiff and Respondent.
                          MEMORANDUM OPINION
      Isaac Gomez Marquez appeals the denial of his motion for resentencing

under Penal Code1 section 1172.75. Because the trial court’s ruling was
based on an erroneous interpretation of section 1172.75, we reverse and
remand for full resentencing.
      In July 2012, Marquez pled guilty to robbery (§ 211) and admitted he
personally used a deadly weapon (§ 12022, subd. (b)(1)). He also admitted he
suffered a prior felony conviction in 2006 that qualified as a strike prior
(§§ 667, subd. (b)–(i) and 1170.12), a serious felony prior (§§ 667, subd. (a)(1),
and 1192.7, subd. (c)), and a prior prison term enhancement (§ 667.5, former
subd. (b) (hereafter, “section 667.5(b)”)).
      In August 2012, the trial court sentenced Marquez to a total prison
term of 12 years, consisting of the middle term of three years for the robbery,
doubled for the strike prior, plus one year for the weapon enhancement and
five years for the serious felony enhancement. It stayed the one-year
punishment for the prior prison term enhancement under section 667.5(b).
      Effective January 1, 2022, section 1172.75 was added to the Penal Code
by virtue of the passage of Senate Bill No. 483 (2021–2022 Reg. Sess.).
(Stats. 2021, ch. 728, § 3.) Section 1172.75 provides that certain sentence
enhancements “imposed prior to January 1, 2020” pursuant to section
667.5(b), are “legally invalid.” (§ 1172.75, subd. (a).) It directs the
Department of Corrections (CDCR) to identify those persons in custody
“currently serving a term for a judgment that includes an enhancement
described in subdivision (a) . . . to the sentencing court that imposed the
enhancement.” (Id., subd. (b).) Upon receiving this information, “[i]f the


1     Further undesignated statutory references are to the Penal Code.

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court determines that the current judgment includes an enhancement
described in subdivision (a), the court shall recall the sentence and
resentence the defendant.” (Id., subd. (c).) “Resentencing pursuant to this
section shall result in a lesser sentence than the one originally imposed as a
result of the elimination of the repealed enhancement” unless the court finds
a lesser sentence would endanger public safety. (Id., subd. (d).)
      The CDCR identified Marquez as a person currently serving a prison
term that included an enhancement imposed pursuant to section 667.5(b). In
September 2022, the trial court issued a tentative order denying relief and
appointing counsel to represent Marquez. Marquez then filed a motion
seeking a full resentencing hearing under section 1172.75.
      Following a hearing in November 2023, the trial court confirmed its
tentative and issued an order finding Marquez ineligible for any relief. The
court reasoned his prior prison term enhancement had been stayed, such that
he was “not currently serving any additional time as a result of the
enhancement.” In the court’s view, the enhancement therefore had not been
“imposed” within the meaning of section 1172.75, subdivision (a). The court
relied on People v. Rhodius (2023) 97 Cal.App.5th 38, review granted Feb. 21,
2024, S283169 (Rhodius) in support of its interpretation of section 1172.75.
      The sole issue presented in Marquez’s appeal is whether the trial court
erred in its interpretation of section 1172.75. He contends it did, and that the
statute affords relief to all defendants whose sentences include a prior prison
term enhancement, whether it was imposed and executed or imposed and
stayed. The People contend the court did not err, because section 1172.75
applies only to those defendants whose prior prison term enhancements were
imposed and executed. On our de novo review of this issue (People v. Lewis
(2021) 11 Cal.5th 952, 961), and consistent with this court’s prior decisions on


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the issue, we conclude Marquez has the better argument. Accordingly, we
will reverse the order and remand for full resentencing.
      The proper interpretation of section 1172.75 in this context has now
been the subject of four published appellate opinions. (People v. Renteria
(2023) 96 Cal.App.5th 1276, 1282–1283; Rhodius, supra, 97 Cal.App.5th at
pp. 43–48, review granted; People v. Christianson (2023) 97 Cal.App.5th 300,
311–316, review granted Feb. 21, 2024, S283189 (Christianson); People v.
Saldana (2023) 97 Cal.App.5th 1270, 1276–1279, review granted Mar. 12,
2024, S283547 (Saldana).) In Renteria, the trial court declined to apply
section 1172.75 to the defendant’s prior prison term enhancements on the
ground “imposed” as used in subdivision (a) of section 1172.75 did not include
enhancements that were stayed. (Renteria, at p. 1282.) The Sixth Appellate
District reversed, holding “imposed” includes “enhancements that are
imposed and then executed as well as those that are imposed and then
stayed.” (Ibid. [cleaned up].)
      In Rhodius, the Court of Appeal reached the opposite conclusion,
relying heavily on People v. Gonzalez (2008) 43 Cal.4th 1118, 1126 (Gonzalez),
in which the California Supreme Court interpreted the word “imposed” in
section 12022.53, subdivision (f), to mean imposed and executed. Examining
section 1172.75 as a whole, the Rhodius court observed subdivision (d)(1) of
section 1172.75 requires the trial court to impose a “lesser sentence than the
one originally imposed,” and reasoned the only way the enhancement could
affect the length of a sentence is if it had been imposed and executed.
(Rhodius, supra, 97 Cal.App.5th at pp. 43–44, review granted.) It also found
the legislative history of section 1172.75 demonstrates “a clear presupposition
by the Legislature of an imposed and executed sentence,” including a
legislative analysis that found sentencing enhancements “put significant


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financial burdens on taxpayers and families statewide.” (Rhodius, at pp. 46–
47 [cleaned up].)
      This court, in Christianson, rejected a narrow interpretation of section
1172.75 and held section 1172.75 applies to cases in which the inmate’s
abstract of judgment includes one or more section 667.5(b) enhancements
that were previously imposed but stayed. (Christianson, supra, 97
Cal.App.5th at p. 305, review granted.) Although we considered the word
“imposed” in section 1172.75, subdivision (a), to be “at least somewhat
ambiguous,” we concluded that in the context of the statutory scheme, stated
legislative intent, and statutory history, “imposed” was not “limited to
enhancements that were imposed and executed.” (Christianson, at p. 311.)
We observed subdivision (a) of section 1172.75 requires the CDCR to identify
all inmates “ ‘currently serving a term for a judgment that includes an
enhancement described in subdivision (a),’ ” and that a judgment “may
include a sentence that has been imposed but suspended or stayed.”
(Christianson, at p. 311.) We found it illogical that the Legislature would
require the CDCR to identify a larger class of inmates based on the abstract
of judgment, only to have the trial court “then look at the same abstracts of
judgment available to the CDCR to determine whether” the enhancements
had been stayed. (Id. at p. 312.)
      We also disagreed that if the statute were interpreted to encompass
stayed enhancements, this would create a conflict with subdivision (d)(1) of
section 1172.75. We explained that when a punishment is stayed, “the trial
court retains the ability to lift the stay and impose the term under certain
circumstance[s],” and that “removal of the stayed enhancement” therefore
“provide[s] some relief to the defendant by eliminating that potential.”
(Christianson, supra, 97 Cal.App.5th at p. 312, review granted.) And while in


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Gonzalez, supra, 43 Cal.4th at page 1126, the California Supreme Court
interpreted the word “imposed” in section 12022.53, subdivision (f), to mean
imposed and executed, we did not find Gonzalez to be controlling. In our
view, the high court had interpreted “imposed” in the context of a statute
intended to ensure longer sentences for felons who use firearms, whereas
section 1172.75 was “expressly aimed at reducing sentences[.]”
(Christianson, at p. 314.) And we found the legislative history to be
consistent with our reading of section 1172.75. (Christianson, at p. 316.)
      In Saldana, the Third Appellate District concluded that section 1172.75
broadly affords relief to all defendants with a now-invalid section 667.5(b)
enhancement, regardless of whether execution of the enhancement was
stayed. In doing so, it relied on reasoning from Christianson, and disagreed
with the Rhodius court’s view that defendants whose sentences include
stayed enhancements would not be subject to a lesser sentence if their
enhancement was stricken. (Saldana, supra, 97 Cal.App.5th at pp. 1277,
1278, review granted.)
      Unsurprisingly, Marquez asks us to interpret section 1172.75 as we did
in Christianson to include all cases in which the trial court imposed a prior
prison term as a part of the original judgment. He observes this outcome is
consistent with the outcomes in Renteria and Saldana. In response, the
People ask us to follow Rhodius rather than Christianson, hold that section
1172.75 does not apply to an imposed and stayed section 667.5(b)
enhancement, and strike the stayed enhancement on the ground it resulted
in an unauthorized sentence.
      We decline the People’s request. “Absent a compelling reason, the
Courts of Appeal are normally loath to overrule prior decisions from another
panel of the same undivided district or from the same division.” (Estate of


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Sapp (2019) 36 Cal.App.5th 86, 109, fn. 9.) Christianson is a decision of this
appellate division, and the People have not provided us with a compelling
reason for reconsidering it. Although they assert that Rhodius is “well-
reasoned,” we were aware of Rhodius when we decided Christianson and we
expressly disagreed with the Rhodius court’s interpretation of section
1172.75. (See Christianson, supra, 97 Cal.App.5th at p. 316, fn. 8, review
granted.)
      Accordingly, we adhere to the reasoning and holding of Christianson
and conclude section 1172.75 affords relief to defendants like Marquez whose
abstracts of judgment include one or more section 667.5(b) enhancements
that were previously imposed but stayed. Marquez is therefore entitled to a
full resentencing upon remand, including the application of “any other
changes in law that reduce sentences or provide for judicial discretion.”
(§ 1172.75, subd. (d)(2).)




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                               DISPOSITION
     The order denying Marquez’s motion for resentencing pursuant to
section 1172.75 is reversed and the matter is remanded with instructions to
the court to issue a new order granting Marquez’s motion.



                                                                      DO, J.

WE CONCUR:



O’ROURKE, Acting P. J.



RUBIN, J.




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